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 1                                                                     HONORABLE RONALD B. LEIGHTON
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 5                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 6                                               AT TACOMA
 7     UNITED STATES OF AMERICA,
 8                                                            Case No. CR06-5661 RBL
                                 Plaintiff,
 9                       v.                                   ORDER
10     ILIAS DIMITRION NTAIS,
11                                Defendant.
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13
14             THIS MATTER comes on before the above-entitled Court sua sponte.

15             Having considered the entirety of the records and file herein, the Court finds and rules as follows:

16             On October 31, 2006 the Defendant entered a plea of guilty. The Court permitted the parties to waive

17   preparation of a Presentence Report. The Court entered its standard Order Regarding Sentencing Procedure

18   which set the date for sentencing on December 12, 2006 and ordered the preparation of a Presentence Report.

19   [Dkt. #8] The Order Regarding Sentencing Procedure is hereby STRICKEN. The sentencing date of

20   December 12, 2006 remains as set.

21             IT IS SO ORDERED.

22             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing

23   pro se.

24             Dated this 2nd day of November, 2006.


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                                               RONALD B. LEIGHTON
27                                             UNITED STATES DISTRICT JUDGE

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     ORDER
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